UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

John Pluecker, Obinna Dennar, Zachary
Abdelhadi, and George Hale,

 

_vs_ Case No’: 1:18-cv-01100

 

Ken Paxton, Texas Attorney General; Board of
Regents of the Un§versity of Houston System, in
the name of the University of Houston; et al.

 

MOTION FOR ADMISSION PRO HAC VICE

 

TO THE HONORABLE JUDGE OF SAID COURT:

Comes now V€l‘a Eid€lmall , applicant herein, and

 

moves this Court to grant admission to the Unitecl States District Court for the Western District of

Texas pro hac vice to represent Pl"‘i"tiffs in this case, and would

 

respectfully show the Court as follows:

l. Applicant is an attorney and a member of the law firm (or practices under the name of)

American Civil Liberties Union Foundation, Inc.

 

with offices at

 

 

Mailing address: 125 Bl'OHd St., 18th Floor
City, State, Zip Code: New YOl'ks NY 10994
Tefephone; 212-549-2500

 

Facsimile: 212-549-2654

 

LIJ

7,0\ tv
Since .]anuary 21, m ,Applicant has been and presently is a member ofand in

 

good standing With the Bar of the State of California .

Applicant’s bar license number is 308535

 

Applicant has been admitted to practice before the following courts:

 

 

 

 

Court: Admission date:
Northern District of California 12/06/2017
Ninth Circuit 10/04/2018
Eleventh Circuit 10/12/2018

 

 

 

 

Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

 

 

Applicant has never been subject to grievance proceedings or involuntary removal

proceedings While a member of the bar of any state or federal coart_. except as provided

below:

 

 

Applicant has not been charged, arrested, or convicted of a criminal offense or offenscs,

except as provided below (omit minor traffic offenses):

 

iO.

Applicant has read and is familiar with the Local Rules of the Western District of Texas and

will comply with the standards of practice set out therein.

Select one:

l:]

Applicant has on file an application for admission to practice before the United
States District Court for the Western District of Texas.
Applicant has co-counsel in this case who is admitted to practice before the United

States District Court for the Western District of Texas.

 

 

 

Co_coung@}; Edgar Saldivar

Mailing address: P-O- BOX 3306

City, State, Zip Code: HOHStOll, TX 77288
Telephone: (713) 325-7011

 

Should the Court grant applicant’s motion, Applicant shall tender the amount of$100.00

pro hac vice fee in compliance with Local Court Rule AT-I(D(Z) [checl<s made payable

to: Clerk, U.S. District Court].

Should the Court grant applicants motion, Applicant shall register as a filing user within l()

days of this order, pursuant to Administrative Policies and Procedurcs for Electronic Filing

in Civii and Crirninal Cases in the Western District of Texas.

Wherefore, Applicant prays that this Court enter an order permitting the admission of

Vera Eidelman to the Western District of Texas pro hac vice

 

for this case only.

Respectfully submitted,

Vera Eidelman
[printed name of Applicant]

[signature of Applicant]

CERTIFICATE OF SERVICE

 

I hereby certify that l have served a true and correct copy of this motion upon each
attorney of record and the original upon the Clerk of Court on this the 19th day of
December , 2018

Vera Eidelman

 

[printed name of Applicant]

vs@

[signature of Applicant]

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

John Pluecker, Obinna Dennar, Zachary
Abdelhadi, and George Hale,

 

_vs_ Case No_ 1:18-¢v-01100

 

Ken Paxton, Texas Attorney General; Board of
Regents of the University of Houston System, in
the name of the University of Houston; et ai.

 

ORDER

BE IT REMEMBERED on this the day of , 20 , there

 

was presented to the Court the Motion for Adinission Pro Hac I/'i`ce filed by

Vel‘a Eideimall (“Applicant”), counsel for Plaintiffs and

 

 

the Court, having reviewed the motion, enters the following order:
IT IS ORDERED that the Motion for Adrnission Pro Hac Vice is GRANTED, and Applicant

may appear on behalf of Piaillfiff$ in the above case.

 

IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,
in compliance with Local Court Rule AT-l(f)(Z), immediately tender the amount of $100.00,
made payable to: Cferk, U.S. District Court.

IT iS FURTHER ORDERED that Appiicant, pursuant to the Adrninistrative Policies and
Procedures for Eiectronic Filing in Civil and Criniinal cases in the Western District of Texas, shall
register as a filing user within 10 days of the date of this Order.

lT IS FINALLY ORDERED that Applicant’s Pro Hac Vr`ce status shall not become effective

until Applicant has complied with all provisions of this Order.

SIGNED this the day of 20

 

 

UNITED STATES DISTRICT JUDGE

